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Karen Warren

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From: Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>

Sent: Wednesday, April 2, 2025 3:08 PM

To: Karen Warren -

Cc: . . Anne Swift; eleibowitz@democracyforward.org; msamburg@democracyforward.org;
 kjones@democracyforward.org; Shapiro, Elizabeth (CIV); Kies, Marianne F (CIV); Holt,

Samuel (CIV)
Subject: AFSCME v. SSA, 25-cv-596°

CAUTION EXTERNAL]

To the Chambers of Judge Hollander,

Defendants write to inform the Court that defendants have not provided plaintiffs with a copy of the administrative
record, filed under seal, because the parties are in disagreement about the entry of a protective order to protect
personal information and sensitive systems information. Understanding that plaintiffs do need access to the
administrative record in light of upcoming deadlines, defendants respectfully ask for a conference at the Court’s
earlies convenience to provide guidance on the protective order dispute.

Plaintiffs’ counsel are copied on this email.
Thank you,

Brad Humphreys
Counsel for Defendants

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